        Case 8:25-cr-00006-LKG          Document 32        Filed 02/06/25     Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA        *
                                 *
     v.                          *    CRIMINAL NO. LKG-25-6
                                 *
 THOMAS C. GOLDSTEIN,            *
                                 *
           Defendant             *
                                 *
                              *******
                  GOVERNMENT’S MOTION TO STRIKE
                     DEFENDANT’S PRO SE MOTION

       The United States of America respectfully requests that the Court strike Defendant’s

motion to review condition of release (ECF 30) and vacate the order (ECF 31) directing the

Government to respond to the motion by February 7, 2025. That motion was filed pro se and

signed by Defendant personally—despite that he is represented by numerous attorneys, including

two who have already entered appearances in this case. This pro se filing directly violates U.S.

District Court for the District of Maryland Local Rules 202 and 102.6, which prohibit the

acceptance of pro se filings by represented parties. The Court has “no obligation to consider a

defendant’s pro se motion when he is represented by counsel,” United States v. Hammond, 821 F.

App’x 203, 207 (4th Cir. 2020), and doing so would undermine judicial economy and the efficient

resolution of this case. The Government respectfully submits that the Court should defer setting

any briefing schedule, including the filing of Defendant’s motion requesting appropriate relief,

and related hearing, until after Chief Magistrate Judge Sullivan conducts the attorney inquiry

hearing on February 12, 2025 and makes a determination on Defendant’s representation. ECF 15.

To protect Defendant’s rights and the record in this case, to the extent Defendant wishes to proceed

pro se, he should be permitted to do so only after a Faretta hearing held before this Court (or its
       Case 8:25-cr-00006-LKG          Document 32       Filed 02/06/25     Page 2 of 9



designee) to determine whether he is knowingly and intelligently relinquishing his Sixth

Amendment right to counsel. See Faretta v. California, 422 U.S. 806 (1975).

                                       BACKGROUND

       On January 16, 2025, a federal grand jury returned a twenty-two count Indictment against

Defendant for violations of federal tax laws and for making false statements on mortgage loan

applications. ECF 1. On January 27, 2025, Defendant made his initial appearance before Chief

Magistrate Judge Timothy J. Sullivan and pleaded not guilty to all the charges. ECF 4. At the

initial appearance, Defendant was represented by two attorneys, John Lauro, Esq. and Stuart

Berman, Esq., who entered appearances in the case the same day for purposes of the initial

appearance. ECF 9, 11. Mr. Lauro and Mr. Berman also represented Defendant that day during

Defendant’s arraignment and hearing on conditions of release.

       Following his initial appearance, Defendant was released pending trial.        Defendant,

however, is subject to conditions of release listed in a January 27, 2025 order from Chief

Magistrate Judge Sullivan. ECF 6. Among those conditions is a requirement that Defendant

execute a bond for 100% interest in his residence in Washington, D.C. ECF 6 at 2. Consistent

with that condition of release, and also on January 27, 2025, Defendant executed an appearance

bond and agreement to forfeit property stating that if he “fail[ed] to appear as required for any

court proceeding,” he would forfeit 100% interest in the Washington, D.C. residence. ECF 8-1.

       On January 29, 2025, Defendant filed a motion—signed by two of his attorneys—to modify

the conditions of release and substitute three South Carolina properties for the residence in

Washington, D.C. ECF 18. On January 29, 2025, Chief Magistrate Judge Sullivan denied the

request to substitute the South Carolina properties for the Washington, D.C. residence because

doing so was “necessary to reasonably assure that Mr. Goldstein will appear for all future




                                               2
        Case 8:25-cr-00006-LKG          Document 32       Filed 02/06/25      Page 3 of 9



proceedings in this case.” ECF 19 at 1. That order further made clear that the Washington, D.C.

residence would “only be forfeited if Mr. Goldstein fails to appear as required, and not for other

violations of the conditions of release.” Id.

       On February 5, 2025, Defendant filed the at-issue motion (which he signed) again urging

the Court to allow for substitution of the South Carolina properties for the Washington, D.C.

residence. ECF 30.1 The motion also requested for the first time that the Court “limit the scope

of the government’s forfeiture allegation” as to the Washington, D.C. residence. That forfeiture

allegation, which was contained in the Indictment and then subsequently detailed in a bill of

particulars (ECF 21), notified Defendant that the Government could seek forfeiture of the

Washington, D.C. residence because it was property constituting, or derived from, proceeds

obtained directly or indirectly, as a result of false statements on a mortgage loan application for

that same residence. The same day that Defendant’s pro se motion was filed, upon urging by

counsel for Defendant via email, this Court directed the Government to respond on or before

February 7, 2025. ECF 31.

                                          ARGUMENT

I.     Legal Standard

       Local Rule 102.6 states, “Except for issues concerning the relationship between attorney

and client, no document shall be accepted for filing by a party represented by counsel unless it is

filed by counsel.” L.R. 102.6 (D.Md. July 1, 2023).2 Indeed, the Court uses a standard “return




1
  The pro se motion was filed on the docket by one of Defendant’s counsel, who also emailed the
motion to the Court once it was filed.
2
  Local Rule 102.6 applies to criminal proceedings via Local Rule 202, which incorporates Rule
102 in its entirety, with an exception not applicable here.


                                                3
        Case 8:25-cr-00006-LKG          Document 32         Filed 02/06/25      Page 4 of 9



pleading form” to strike and send back documents that were improperly filed pro se by a

represented party.

       This rule is in line with Fourth Circuit precedent. “A criminal defendant has no statutory

or constitutional right to proceed pro se while simultaneously being represented by counsel.”

United States v. Carranza, 645 F. App’x 297, 300 (4th Cir. 2016). “[A] district court is under no

obligation to consider a defendant’s pro se motion when he is represented by counsel.” United

States v. Hammond, 821 F. App’x 203, 207 (4th Cir. 2020). See also Carranza, 645 F. App’x at

300 (holding that “the district court was not obligated to consider [the represented defendant’s]

pro se motion or objections”). Although federal law permits criminal defendants to appear

“personally or by counsel,” 28 U.S.C. § 1654, that right is “disjunctive,” meaning that “a party

may either represent himself or appear through an attorney,” Hall v. Dorsey, 534 F. Supp. 507,

508 (E.D. Pa. 1982) (interpreting 28 U.S.C. § 1654 and dismissing prisoner’s complaint premised

on the trial court’s rejection of pro se filings by the prisoner while he was represented).

       Accordingly, federal courts may strike pro se filings by represented parties “[a]s part of the

latitude accorded district courts managing their dockets.” United States v. Hamilton, No. 10-

20749, ECF 50 at 1 (E.D. Mich. Oct. 24, 2011); see United States v. Long, 597 F.3d 720, 729 (5th

Cir. 2010) (holding that “the trial court properly struck [defendant’s] pro se motion” because “[a]t

the time, [defendant] was represented by counsel”). To do so is necessary because such so-called

“hybrid representations” can lead to a defendant and counsel advancing inconsistent arguments.

See McKaskle v. Wiggins, 465 U.S. 168, 182 (1984) (noting that defendant “objected vehemently

to some of counsel’s motions, but warmly embraced others”). Indeed, “where one of the

co-counsel is the accused, conflicts and disagreements as to trial strategy are almost inevitable.”

United States v. Mosely, 810 F.2d 93, 98 (6th Cir. 1987) (holding district court properly exercised




                                                  4
        Case 8:25-cr-00006-LKG           Document 32        Filed 02/06/25         Page 5 of 9



discretion by denying motion for hybrid representation). This is true “regardless of the legal

experience of the defendant.” Id. (finding unpersuasive the argument that hybrid representation

was appropriate given that defendant was an attorney and a judge).

       Pro se motions filed by represented parties have been stricken by courts where the local

rules explicitly bar such filings, see United States v. Lay, No. 2:19-CR-00206-KJD-VCF, 2024

WL 2092001, at *1 (D. Nev. May 9, 2024) (striking pro se motion of represented party seeking

modifications to term of supervised release), and also where the local rules on their face may

technically permit such filings, see United States v. Agofsky, 20 F.3d 866, 872 (8th Cir. 1994)

(finding “no error in the court’s refusal to rule” on pro se motions of represented party despite that

the district court had not “adopt[ed] an explicit rule barring [such] filings”).

       This Court’s Local Rules and practice of striking pro se filings by represented parties

protect defendants’ constitutional rights. A defendant should not be permitted to proceed pro se

until after a Faretta hearing to determine whether the defendant understands the consequences of

waiving his Sixth Amendment right to counsel and knowingly and intelligently relinquishes that

right. See Faretta v. California, 422 U.S. 806 (1975). These rules also protect the record by

avoiding reversible error that could result from relying on assertions by a pro se defendant who

could later argue that he had not knowingly and intelligently relinquished his Sixth Amendment

right to counsel.

II.    The Court Should Strike Defendant’s Pro se Motion

       It is undisputed that Defendant is currently represented by multiple attorneys. Two of

Defendant’s attorneys, Messrs. Lauro and Berman, have entered appearances in the case and

represented Defendant at his initial appearance. Mr. Berman’s electronic filing account was used

to submit the pro se motion that the Government requests be stricken, and he subsequently emailed




                                                  5
       Case 8:25-cr-00006-LKG          Document 32        Filed 02/06/25      Page 6 of 9



the motion to the Court once it was filed requesting prompt review. Defendant also is currently

represented by multiple other prominent attorneys who have yet to enter appearances in this case,

including Christopher Kise, Jonathan Kravis, Andrew Weissman, and associates of these attorneys.

For example, Messrs. Lauro and Kise have issued a statement to the media on behalf of Defendant

following his indictment. In addition, these attorneys all have been actively coordinating with the

Government on issues relating to discovery and scheduling. For example, on February 5, 2025—

the day Defendant filed the instant motion—Mr. Kise advised the Government that discovery

materials should be sent to Mr. Kravis and his law firm, Munger, Tolles & Olson LLP. Also on

February 5, 2025, Mr. Berman contacted the Government to request an in-person meeting

concerning Defendant’s pro se motion prior to the Government filing a response.3

       Nonetheless, in direct violation of the Local Rules, Defendant personally signed the at-

issue motion and filed it pro se. The motion did not provide any justification or reason for

Defendant to proceed pro se while he was represented by multiple attorneys. The fact that the

motion was submitted through his attorney’s electronic filing account highlights the feasibility of

having advanced the same substantive arguments through counsel. If the pro se motion were not

submitted through Mr. Berman’s account as described above, it would have been returned as

improperly filed.

       To the extent Defendant argues the filing of his pro se motion is necessary because he is

currently finalizing the arrangements for ongoing representation, Defendant’s filing is premature.

An attorney inquiry hearing is currently scheduled for February 12, 2025 before Chief Magistrate




3
 Defendant has long been represented by skilled counsel in this case. Mr. Kravis has represented
Defendant in this case for several years. Mr. Weissman was added as counsel in approximately
June 2024. Mr. Kise was added as counsel in approximately December 2024. Mr. Lauro and Mr.
Berman were added as counsel in approximately January 2025.


                                                6
        Case 8:25-cr-00006-LKG          Document 32        Filed 02/06/25       Page 7 of 9



Judge Sullivan precisely to address the issue of Defendant’s representation. If Defendant elects to

proceed pro se, he should be permitted to do so only after a Faretta hearing.

       Striking Defendant’s pro se motion will promote judicial economy and the efficient

resolution of this case. It is not surprising that Defendant—an experienced appellate litigator—

has and will continue to have strong opinions about strategies and tactics deployed by his attorneys

in defending the charges. If the Court entertains and resolves Defendant’s pro se motion now, at

the outset of the case, it will embolden Defendant to continue to raise arguments and file briefs on

his own behalf. Such an approach may lead to inconsistent arguments being advanced by

Defendant and his attorneys, and/or to duplicative and cumulative litigation of consistent

arguments. Defendant does not have a right to litigate this case in that way, nor has he provided

any justification or reason why the Court should endorse a hybrid representation.

       Finally, striking the pro se motion would not prejudice Defendant because the same

arguments can be advanced in a motion signed by one or more of Defendant’s attorneys. To the

contrary, striking the motion would protect Defendant, who has not yet requested or participated

in a Faretta hearing. That means the Court has not determined that Defendant “knowingly and

intelligently [decided to] forego his right to counsel.” Long, 597 F.3d at 724. Nor has the Court

determined that Defendant has “clearly and unequivocally request[ed] to proceed pro se.” Id.

Further, Defendant has not been “caution[ed] . . . about the dangers of self-representation.” Id.

Without a proper Faretta hearing, Defendant’s pro se filings and self-representation could

implicate his Fifth and Sixth Amendment rights, for which Defendant may later cry foul and claim




                                                 7
        Case 8:25-cr-00006-LKG          Document 32        Filed 02/06/25     Page 8 of 9



reversible error. If Defendant wants to proceed pro se, these issues should be addressed first by

the Court and parties at a Faretta hearing.

       To be clear, the Government disagrees with and is prepared to oppose the relief sought by

Defendant’s pro se motion, as envisioned by the Court’s direction that the Government respond

by February 7, 2025 (ECF 31). Among other reasons, the relief should not be granted under

consideration of the factors set forth in 18 U.S.C. § 3142, and because Defendant’s arguments

betray a fundamental misunderstanding of the reasons that he was ordered to execute a bond on

the Washington, D.C. residence (which he owns) versus the South Carolina properties (which he

does not own). In addition, Defendant improperly attempts to conflate Defendant’s request for a

“review” of Chief Magistrate Judge Sullivan’s release order with the “review” of a forfeiture-

related issue that was never considered or ruled on in the first instance.4 In any event, the proper

avenue for raising these issues is a motion signed and submitted by Defendant’s attorneys, or

alternatively in a motion submitted by Defendant after a Faretta hearing and a determination by

the Court that Defendant can proceed pro se.




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  While 18 U.S.C. 3145(c) provides that an appeal of a release order should be determined
“promptly,” that applies only to the issue of the bond for 100% interest in Defendant’s residence
in Washington, D.C if Defendant fails to appear. Defendant does not have the right to challenge
a bill of particulars and limit what the Government may forfeit upon conviction on an expedited
basis. Rather, the Government should be afforded the opportunity to fully brief this important
issue and present its views to the Court.


                                                 8
        Case 8:25-cr-00006-LKG           Document 32        Filed 02/06/25      Page 9 of 9



                                          CONCLUSION

       For the reasons stated above, the Government respectfully requests that the Court: (1)

strike the pro se motion (ECF 30) filed in violation of the Court’s Local Rules; (2) vacate the order

requiring the Government to respond to the pro se motion by February 7, 2025 (ECF 31); (3) defer

setting any briefing schedule, including the filing of Defendant’s motion requesting appropriate

relief, and related hearing, until after Chief Magistrate Judge Sullivan conducts the attorney inquiry

hearing on February 12, 2025 and makes a determination on Defendant’s representation; and (4)

in the event Defendant seeks to proceed pro se, conduct a Faretta hearing to ascertain that

Defendant fully understands the issues attendant to proceeding pro se.



                                                      Respectfully submitted,

                                                      Erek L. Barron
                                                      United States Attorney
                                                      /s/
                                                      Patrick D. Kibbe
                                                      Assistant United States Attorney
                                                      District of Maryland

                                                      Stanley J. Okula, Jr.
                                                      Senior Litigation Counsel
                                                      Department of Justice—Tax Division

                                                      Emerson Gordon-Marvin
                                                      Hayter Whitman
                                                      Trial Attorneys
                                                      Department of Justice—Tax Division




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